Case 01-01139-AMC Doc 15051-4 Filed 03/30/07 Page 1 of 3

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W.R. GRACE & CO., et al.,? ) Case No. 01-01139 (IKF)

) Gointly Administered)

) v
Debtors. ) Objection Deadline: Box: \ \4 , 2007,
at 4:00 p.m. (prevailing eastern time)

FEE DETAIL FOR LATHAM & WATKINS LLP’S MONTHLY
SPECIAL TAX COUNSEL FEE APPLICATION

FOR THE PERIOD FEBRUARY 1, 2007 THROUGH FEBRUARY 28, 2007

? The debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.}, W. R. Grace & Co.-Conn., A-1 Bit
& Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc.,
Coalgrace, Inc., Coalgrace II, Inc., Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
(f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners {,
Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville
Corp., Gloucester new Communities Company, Inc., Grace A-B Inc., Grace A-B IH Inc., Grace Chemical Company of Cuba, Grace Culinary
Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G
II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearbom International Holdings, Inc.), Grace Offshore
Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace
Washington, inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land
Development Corporation, Hanover Square Corporation, Homco Intemational, Inc., Koontenai Development Company, L B Realty, Inc.,
Litigation Management, Inc. (i/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated,
Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA
Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C
Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company,
CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West Coa] Company, H-G Coa} Company.

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LATHAMeWATKINS”

INVOICE
February 28, 2007

W.R. GRACE & CO.
5400 BROKEN SOUND BLVD. NW
BOCA RATON, FL 33487

555 Eleventh Street, N.W., Suite 1000
Washington, D.C. 20004-1304

Tek (202) 637-2200 Fax: (202) 637-2201
ww. hv.com

Tax identification No: XX-XXXXXXX

Please remit payment to:
Latham & Watkins LLP
P.O. Box 7247-8202
Philadelphia, PA 19170

For questions call:

Edith Parker at (202) 350-5039

Please Identify your check with the following number.
Invoice No. 70303613

File No. 042362-0000

For professional services rendered through February 28, 2007

re: FEDERAL TAX GENERAL PLANNING

cE OS eee

Attomey/

Date Parale

02/01/07 NID
02/01/07 PBW
02/02/07 NJD
02/02/07 PBW
02/11/07 NJD
02/12/07 NID
02/12/07 PBW

Hours

30

4.20

30
.16

2.80

2.00

1.70

Description

REVIEW OF DEBT/EQUITY ISSUES; COST SHARING
AGREEMENT STRUCTURE; EMAIL E. FILON
REGARDING SUMMARY

REVIEW FOREIGN TAX CREDIT CALCULATION;
RESEARCH RELATED TO SAME;
TELECONFERENCES AND CORRESPONDENCE
WITH N. DENOVIO ON SAME

COST SHARING AGREEMENT ISSUES

REVIEW CORRESPONDENCE REGARDING
GERMAN PLANNING; CORRESPONDENCE WITH N.
DENOVIO ON SAME

DRAFTING OF MEMORANDUM TO E. FILON;
REVIEW DEBT/EQUITY, PREPAID ROYALTY AND
SECTION 482 ISSUES

REVIEW DEBT/EQUITY CASE LAW; REGULATIONS
UNDER SECTION 482 REGARDING POTENTIAL
COST SHARING AGREEMENT BETWEEN GRACE-
CONN. AND GRACE GERMANY; REVIEW SECOND
CIRCUIT OPINION IN KRAFT CASE REGARDING
SUBSIDIARY DISTRIBUTION OF INTERCOMPANY
NOTES; INITIAL DRAFT OF MEMORANDUM TO E.
FILON

BEGIN REVIEW AND REVISION OF MEMORANDUM
REGARDING FINANCING AND INTELLECTUAL
PROPERTY TAX MATTERS RELATING TO GERMAN
OPERATIONS; TELECONFERENCE AND
CORRESPONDENCE WITH N. DENOVIO AND D.

BALANCE DUE AND PAYABLE TO REMITTANCE ADDRESS UPON RECEIPT,
FOR PROPER CREDIT, PLEASE RETURN COPY OF INVOICE WITH YOUR CHECK IDENTIFIED BY #70303613

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Attorney/

Date Paralegal Hours Description
RAAB ON SAME

02/12/07 ECA 1,80 PREPARE SEPTEMBER, OCTOBER AND NOVEMBER
FEE STATEMENTS; CORRESPOND WITH N.
DENOVIO REGARDING SAME.

02/13/07 NID 3.50 REVIEW AND REVISE MEMORANDUM TO E. FILON
REGARDING VARIOUS ISSUES; REVIEW MULTIPLE
AUTHORITIES REGARDING DEBT/EQUITY;
CONFERENCE CALL WITH E. FILON, D. POOLE
AND A, GIBBONS

02/13/07 DSR 50 CONFERENCE WITH B. WHEELER; REVIEWED
CORRESPONDENCE FROM B. WHEELER

02/13/07 PEW 3.20 COMPLETE REVIEW AND REVISION OF
MEMORANDUM REGARDING FINANCING AND
INTELLECTUAL PROPERTY TAX MATTERS
RELATING TO GERMAN OPERATIONS; RESEARCH
RELATED TO SAME; TELECONFERENCE AND
CORRESPONDENCE WITH N. DENOVIO AND D.
RAAB ON SAME

Attorney Hours:

NJ DENOVIO (PARTNER, SR. ) 8.90 brs @ $775.00 fir. $6,897.50

DS RAAB (PARTNER) 50 hrs @ $895.00 fbr. $ 447,50

PB WHEELER (ASSOCIATE) 9.20 hrs @ $425.00 far. $3,910.00

Paralegal Hours:

EC ARNOLD (PARALEGAL) 180hs @ $235.00 ihr. $ 423.00

Total Services 20.4 hrs $11,678.00

Other charges:

PHOTOCOPYING

Total other charges 3.57

Total current charges 11,681.57

BALANCE DUE $11,681.57

BALANCE DUE AND PAYABLE TO REMITTANCE ADDRESS UPON RECEIPT.

FOR PROPER CREDIT, PLEASE RETURN COPY OF INVOICE WITH YOUR CHECK IDENTIFIED BY # 70303813

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